
Per Curiam.
Appellant claims he is entitled to a new trial because the trial court erred in granting the State's request to strike a juror for cause. We find Appellant's argument meritless, because he failed to preserve the argument by objecting before the jury was sworn. Carratelli v. State , 961 So. 2d 312, 318 (Fla. 2007) (requiring counsel to renew an objection before the jury is sworn); Zach v. State , 911 So. 2d 1190, 1204 (Fla. 2005) (finding waiver absent a timely objection before the jury is sworn). Absent the required objection, this issue was waived below and is not preserved for appeal. Appellant has not argued or demonstrated fundamental error. We therefore affirm his conviction and sentence.
AFFIRMED .
Rowe, Bilbrey, and Kelsey, JJ., concur.
